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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  UNITED STATES, et al.,                      )
                                              )
                        Plaintiffs,           )
                                              )
  v.                                          )   No. 1:23-cv-00108-LMB-JFA
                                              )
  GOOGLE, LLC,                                )
                                              )
                        Defendant.            )

                                      NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Emily E. Kelley of McGuireWoods LLP, who is admitted

  to practice in this Court, hereby appears in the above-captioned matter as attorney of record for

  movants Rahul Srinivasan, Scott Spencer, Samuel Cox, and Brad Bender.



  Dated: September 9, 2024                    Respectfully submitted,

                                              /s/ Emily E. Kelley_________
                                              Emily E. Kelley (VSB No. 96252)
                                              McGuireWoods LLP
                                              888 16th Street N.W., Suite 500
                                              Black Lives Matter Plaza
                                              Washington, D.C. 20006
                                              Telephone: (202) 857-1708
                                              Email: ekelley@mcguirewoods.com

                                              Counsel for Rahul Srinivasan, Samuel Cox, Scott
                                              Spencer, and Brad Bender
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of September, 2024, I caused a true and correct copy

  of the foregoing Notice of Appearance to be filed electronically with the Clerk of Court via the

  Court’s CM/ECF system. Counsel of record are registered CM/ECF users and will be served by

  the CM/ECF system.



  Dated: September 9, 2024
                                                     /s/ Emily E. Kelley________
                                                     Emily E. Kelley

                                                     Counsel for Rahul Srinivasan, Samuel Cox,
                                                     Scott Spencer, and Brad Bender
